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                                TRICT OF MARYLAND
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DAVID C. ROCKW
             WELL, et al.          *

              Plaintif
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             vs.
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                                                 ION NO. M
                                                         MJG-16-03
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     D STATES OF AMERI
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I.   BACKGROUN
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     In March 2009, Ru
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Liability Comp
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("the Note") establish
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                                         Interest,
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           $27,000.00 on execu
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           $2,250.00 on
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     As of May 30, 2014, Plaintiffs, David and Kathie Rockwell,

had the following unpaid principal balances1 of assessments

outstanding against them:

           § 6672 liabilities, 2008 and 4Q 2010 (Mr. Rockwell
            only) $317,322.18.

           Form 1040, 2005 (Mr. Rockwell only) $150,563.22.

           Form 1041, 2007, 2010, 2011 (Mr. & Mrs. Rockwell)
            $295,254.82.

     On May 30, 2014, the I.R.S. served a Form 668-W(ICS)

"Notice of Levy on Wages, Salary and Other Income" on Rumsey

Road with regard to the Rockwell's tax liabilities.        The form

stated that the levy required Rumsey Road "to turn over to us:

(1) this taxpayer's wages and salary that have been earned but

not paid, as well as wages and salary earned in the future until

this levy is released, and (2) this taxpayer's other income that

you have now or for which you are obligated.2 Mot. Ex. B, ECF No.

9-4 (emphasis added).

     In response, Rumsey Road paid the I.R.S. the $2,250.00 of

interest then owed and stated3 that additional checks in that

amount would be sent monthly.4


1
  Plus interest.
2
  Another levy was served with regard to the principal due on the
Note.
3
  By Norman E. Rockwell.
4
  Such monthly payments were made through the March 1, 2016
maturity date.


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       On or about November 20, 2014, Plaintiffs filed an Offer in

Compromise, Form 656, proposing to settle all their tax

liabilities for a total payment of $150,000.00 of which

$6,250.00 was paid with the offer and the balance of $143,750.00

was to be paid from the principal of the Note5 when paid.            The

I.R.S. returned the Offer in Compromise by letter of April 23,

2015, stating the following reasons for the return:

             The initial payment made was less than 20% of the
              offered amount.

             The offer was made in regard to two types of tax
              liabilities whereas separate offers were required for
              each type.

             The source of the offered payment was identified as
              the principal debt due on the Note, but that asset was
              already subject to an outstanding levy.

Mot. Ex. C, ECF No. 9-5.

        Plaintiffs have filed the instant suit presenting claims

in three Counts:

         1.     Violation of I.R.C.6 § 7122 (Compromises)
         2.     Violation of I.R.C. § 6331 (Levies)
         3.     "Improper Treatment of Levy on Fund Restricted by
                Promissory Note"
         4.     There is no Fourth Count.
         5.     Attorneys' Fees and Costs

Compl., ECF No. 1.



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    Already subject to an outstanding levy.
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    I.R.C. references are to Title 26 U.S.C.


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II.   DISMISSAL
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           1.   Rule 12
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Giacomelli, 588 F.3d 186, 193 (4th Cir. 2009) (quoting Twombly,

550 U.S. at 557).



          2.   Rule 12(b)(1)

     A motion to dismiss under Rule 12(b)(1) challenges a

court's jurisdiction to hear the matter brought by a complaint.

See Davis v. Thompson, 367 F. Supp. 2d 792, 799 (D. Md. 2005).

It is well established that "[t]he burden of proving subject

matter jurisdiction on a [Rule 12(b)(1)] motion to dismiss is on

the plaintiff, the party asserting jurisdiction." Adams v. Bain,

697 F.2d 1213, 1219 (4th Cir. 1982).

     The court may "consider evidence outside the pleadings" in

a 12(b)(1) motion to determine if it has jurisdiction. Richmond,

Fredericksburg & Potomac R.R. Co. v. United States, 945 F.2d

765, 768 (4th Cir. 1991).



     B.   SUMMARY JUDGMENT STANDARD

     A motion for summary judgment will be granted if the

pleadings and supporting documents "show[] that there is no

genuine issue as to any material fact and that the moving party

is entitled to judgment as a matter of law."       Fed. R. Civ. P.

56(a).




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III. DISCUSSIO
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that the IRS did not follow the prescribed methods of acquiring

assets.").



             2.   Adequacy of Pleading

     Even if I.R.C. § 7433 were to provide jurisdiction for a

reckless, intentional, or negligent return or rejection of an

Offer in Compromise, Plaintiffs have not alleged a factual basis

for a plausible claim.

     First, I.R.C. § 7433 does not provide for a cause of action

as Plaintiffs claim.    "Since compromising tax liabilities is

purely discretionary, even if the IRS had summarily rejected

plaintiffs' offer, [this action] would not give rise to a claim

for intentional or reckless violation of the Code."        Addington

v. United States, 75 F. Supp. 2d 520, 524 (S.D.W. Va. 1999).

     Second, as in Addington, the I.R.S. did not summarily

reject this offer.    Rather, the April 23, 2015 I.R.S. letter10

provided for a resubmission after correction of the defects

stated in the letter.

     Third, Plaintiffs have not alleged facts presenting a

plausible claim that failure to process the Offer in Compromise

was by any means unjustified.     In addition to the absence of a



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  The genuineness of the letter was agreed upon at the motion
hearing.


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20% down payment,11 the Offer in Compromise was defective because

it pertained to separate types of tax liabilities and, perhaps

most significantly, called for payment from an asset upon which

the I.R.S. had already levied.

       Finally, Plaintiffs presented no plausible ground to

believe that they would have succeeded on an administrative

claim based on the Offer in Compromise.

       In sum, Plaintiffs have not established jurisdiction for

their Count One claim and, if there were jurisdiction, the claim

is not adequately pleaded.



       B.   Count Two

            In Count Two, Plaintiffs seek to assert a claim for

violation of I.R.C. § 6331, alleging that there was an

impermissible continuing levy because the interest payments were

not "salary or wages."       Complaint ¶ 26.     The assertion is

baseless.

       The levy sought "wages, salary and other income."          Mot. Ex.

B, ECF No. 9-4 (emphasis added).           The interest due under the

Note was income other than salary and wages, i.e., other income.

       "An IRS levy is generally a one-time occurrence rather than

a continuing event, seizing property in existence at the time


11
     That could have been waived.


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the levy is served."       Bowers v. United States, 861 F. Supp. 2d

921, 923 (C.D. Ill. 2012), aff'd, 498 F. App'x 623 (7th Cir.

2012) (citing I.R.C. §§ 6331(a) and (b)). "However, a one-time

levy may seize a future stream of payments if the taxpayer's

right to the payments is fixed and determinable without any

requirement for the provision of future services."           Id. (citing

Treas. Reg. § 301.633–1; Rev. Rul. 55–210).          See also Melton v.

Teachers Ins. & Annuity Ass'n of America, 114 F.3d 557, 560 (5th

Cir. 1997) (finding that a stream of annuity payments was

properly remitted to the I.R.S. in response to a one-time levy).

        The right to the interest income stream was fixed by the

Note.    Therefore, the single levy validly attached future

payments.

        The Government is entitled to summary judgment on Count

Two.



        C.   Count Three

        Plaintiffs claim in Count Three was "explained" at the

motion hearing.     As best can be understood, Plaintiffs' counsel

seem to contend – with no supporting facts, authority or

persuasive rationale – that since, at the time of the levy,

Rumsey Road could obtain a loan at less than 6% interest, the

interest payments required by the Note were invalid.            This




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appears to be based upon the concept that, despite the terms of

the Note, Rumsey Road did not owe Mr. Rockwell the $2,250.00

monthly interest payments.        Hence, it is contended, the I.R.S.

wrongfully obtained the interest payment remitted in response to

the levy.

        Plaintiffs have presented no evidence that would permit a

reasonable jury to find that Mr. Rockwell did not, at the time

of the levy, have a legal right to the interest payments.             The

I.R.S., of course, succeeded to that right by virtue of the

levy.    While Mr. Rockwell may have been able to choose to waive

his right to interest payments, the I.R.S. was entitled to

assert it.

        Furthermore, even if, for some reason, the I.R.S. had

obtained by levy a $2,250.00 payment that Rumsey Road was not

required to make, Plaintiffs would have no claim against the

I.R.S.    Rather, Rumsey Road would have a claim for wrongful

levy12 that would be within the jurisdiction of this Court if

timely13 filed and, of course, if it had any plausible merit.

Moreover, Plaintiffs present no basis to find that if Mr.

12
   "If a levy has been made on property or property has been sold
pursuant to a levy, and any person (other than the person
against whom is assessed the tax out of which such levy arose)
who claims an interest in or lien on such property and that such
property was wrongfully levied upon may bring a civil action
against the United States in a district court of the United
States." I.R.C. § 7426(a)(1).
13
   See I.R.C. § 6532(c).


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Rockwell chose
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Count Three.



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      E.      nt Five
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      In Count Five, Pl
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award of costs, includ
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Plaintiffs are
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IV.   CONCLUSIO
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              ED, this Tuesday, August 02, 2016
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                                            Marvin J. Garbiis
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